           Case 1:18-cv-11028-GAO Document 6 Filed 05/21/18 Page 1 of 2

                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS


ANALOG DEVICES, INC. and HITTITE
MICROWAVE LLC,

              Plaintiffs,                           Civil Action No. 18-cv-11028

                      v.

MACOM TECHNOLOGY SOLUTIONS                          JURY TRIAL DEMANDED
HOLDINGS, INC. and MACOM
TECHNOLOGY SOLUTIONS INC.,

              Defendants.


                  NOTICE OF APPEARANCE OF KIMBERLY A. MOTTLEY

        Pursuant to Local Rule 83.5.2(a), please enter the appearance of Kimberly A. Mottley, of

 the law firm Proskauer Rose LLP, as counsel for plaintiffs Analog Devices, Inc. and Hittite

 Microwave LLC in this matter. All pleadings, correspondence, notices and other documents

 should be directed to the address below.

     Dated: May 21, 2018                           Respectfully submitted,

                                                   /s/ Kimberly A. Mottley
                                                   Steven M. Bauer (BBO No. 542531)
                                                   Kimberly A. Mottley (BBO No. 651190)
                                                   Safraz W. Ishmael (BBO No. 657881)
                                                   Kimberly Q. Li (BBO No. 698488)
                                                   PROSKAUER ROSE LLP
                                                   One International Place
                                                   Boston, Massachusetts 02110-2600
                                                   (617) 526-9600 telephone
                                                   (617) 526-9899 facsimile
                                                   sbauer@proskauer.com
                                                   kmottley@proskauer.com
                                                   sishmael@proskauer.com
                                                   kli@proskauer.com

                                                   ATTORNEYS FOR ANALOG DEVICES,
                                                   INC. AND HITTITE MICROWAVE LLC
         Case 1:18-cv-11028-GAO Document 6 Filed 05/21/18 Page 2 of 2



                                CERTIFICATE OF SERVICE

       I hereby certify that, on May 21, 2018, I electronically filed the foregoing with the Clerk

of the Court by using CM/ECF system. A copy of the document will be served upon all parties

along with the summons and complaint.


                                              /s/ Kimberly A. Mottley
                                             Kimberly A. Mottley




                                                2
